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5    Ramon Bermudez
6
                                    UNITED STATES DISTRICT COURT
7                                 SOUTHERN DISTRICT OF CALIFORNIA

8
     RAMON BERMUDEZ,                                ) Case No.: 16-cv-1258 LAB NLS
9                                                   )
10              Plaintiff,                          )
           v.                                       )
11   CITIBANK, N.A.,                                ) NOTICE OF SETTLEMENT
                                                    )
12                   Defendant.                     )
                                                    )
13                                                  )
14                                                  )

15

16          NOW COMES the Plaintiff, RAMON BERMUDEZ, by and through the undersigned

17   counsel and hereby informs the court that a settlement of the present matter has been reached and
18   is in the process of finalizing settlement, which Plaintiff anticipates will be finalized within the
19   next 60 days.
20          Plaintiff therefore requests that this honorable court vacate all dates currently set on
21
     calendar for the present matter.
22
                                          Respectfully Submitted,
23

24   Dated: January 25,, 2015             KROHN & MOSS LTD
                                          /s/ Taylor M Tieman
25                                        Taylor M Tieman, Esq.
                                          Attorney for Plaintiff,
26                                        RAMON BERMUDEZ
27

28                                                  1
     _______________________________________________________________________________________________
                                        NOTICE OF SETTLEMENT
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1                                   CERTIFICATE OF SERVICE

2           I hereby certify that on January 25, 2017, I electronically filed the foregoing Notice of
3
     Settlement with the Clerk of the Court by using the CM/ECF System. I further certify that on
4
     January 25, 2017 I served all counsel of record with a copy of this document by way of the
5
     CM/ECF system.
6

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8
                                         By:    /s/Taylor M Tieman
9                                               Taylor M Tieman, Esq.

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                                      NOTICE OF SETTLEMENT
